
4 N.Y.2d 1013 (1958)
In the Matter of Augustine Perillo, Appellant,
v.
New York State Board of Parole, Respondent.
Court of Appeals of the State of New York.
Argued May 2, 1958.
Decided June 25, 1958.
Harris B. Steinberg, Harold R. Soden and Leo H. Hirsch, Jr., for appellant.
Louis J. Lefkowitz, Attorney-General (Raymond B. Madden, Paxton Blair and Paul C. Reuss of counsel), for respondent.
Chief Judge CONWAY and Judges DESMOND, DYE, FULD, FROESSEL, VAN VOORHIS and BURKE concur.
*1015Per Curiam.
Even had the Federal crime of which petitioner was convicted while on parole been a misdemeanor under New York law  a matter we do not pass upon since it was raised for the first time in this court  the petitioner would not be entitled to credit on his State sentence for the time served in the Federal penitentiary. The present case differs materially from People ex rel. Rainone v. Murphy (1 N Y 2d 367).
The order appealed from should be affirmed.
Order affirmed.
